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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

STEPHEN BARBEE,                                §
                Plaintiff,                     §
                                               §
                                               §    CIVIL ACTION NO. 4:21–CV–03077
v.                                             §         DEATH PENALTY CASE
                                               §
BRYAN COLLIER, et al.,                         §
        Defendants.                            §

       DEFENDANTS COLLIER, LUMPKIN, AND CROWLEY’S MOTION TO
                    DISMISS BASED ON MOOTNESS




                                      Exhibit A

                                  Affidavit of Bobby Lumpkin,
     Director of the Texas Department of Criminal Justice Correctional Institutions Division
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